           Case 8:19-ap-01199-TA                  Doc 22 Filed 01/17/20 Entered 01/17/20 10:29:09                                     Desc
                                                   Main Document    Page 1 of 11



  Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
  Email Address


  Baruch C. Cohen, Esq. (SBN 159455)
  LAW OFFICE OF BARUCH C. COHEN
           A Professional Law Corporation
  4929 Wilshire Boulevard, Suite 940
  Los Angeles, California 90010
  (323) 937-4501 Fax (323) 937-4503
  e-mail: baruchcohen@baruchcohenesq.com




       Individual appearing without attorney
       Attorney for Defendant

                                          UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

  In re:
                                                                              CASE NO.: 8:19-bk-12480-TA
  GUY GRIFFITHE,                                                              CHAPTER: 7
                                                                              ADVERSARY NO: 8:19-ap-01199-TA
                                                               Debtor(s).

  JOSEPH SAMEC,

                                                              Plaintiff(s),
                                                                              NOTICE OF LODGMENT OF ORDER OR
                                                                              JUDGMENT IN ADVERSARY PROCEEDING
                                    vs.
                                                                              RE:
  GUY GRIFFITHE
                                                                              MOTION TO DISMISS COMPLAINT TO
                                                              Defendant.      DETERMINE DISCHARGEABILITY OF DEBT
                                                                              [11 U.S.C. § 523(a)(2)(A) and (a)(4)] &
                                                                              SCHEDULING ORDER




PLEASE TAKE NOTE that the order or judgment titled ORDER GRANTING MOTION TO DISMISS COMPLAINT
TO DETERMINE DISCHARGEABILITY OF DEBT [11 U.S.C. § 523(a)(2)(A) and (a)(4)] & SCHEDULING
ORDER was lodged on 01-17-2020 and is attached. This order relates to the motion which is docket number 8.




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                        Page 1                  F 9021-1.2.ADV.NOTICE.LODGMENT
     Case 8:19-ap-01199-TA           Doc 22 Filed 01/17/20 Entered 01/17/20 10:29:09          Desc
                                      Main Document    Page 2 of 11



 1   Baruch C. Cohen, Esq. (SBN 159455)
     LAW OFFICE OF BARUCH C. COHEN
 2           A Professional Law Corporation
     4929 Wilshire Boulevard, Suite 940
 3
     Los Angeles, California 90010
 4   (323) 937-4501        Fax (888) 316-6107
     e-mail: baruchcohen@baruchcohenesq.com
 5
     Attorney for Defendant Guy Griffithe
 6
 7
                                 UNITED STATES BANKRUPTCY COURT
 8                                CENTRAL DISTRICT OF CALIFORNIA
                                        SANTA ANA DIVISION
 9
10
      In re                                      Case No. 8:19-bk-12480-TA
11
      GUY GRIFFITHE,                             Adv. 8:19-ap-01199-TA
12
               Debtor.                           Before the Honorable Theodor C. Albert
13
14    JOSEPH SAMEC,                              Chapter 7

15                       Plaintiff               ORDER GRANTING DEFENDANT’S MOTION
                                                 TO DISMISS COMPLAINT TO DETERMINE
16    vs.                                        DISCHARGEABILITY OF DEBT [11 U.S.C. §
                                                 523(a)(2)(A) and (a)(4)] & SCHEDULING ORDER
17
      GUY GRIFFITHE
18                                               [F.R.C.P. 9(b), 12(b)(6); F.R.B.P. 7009, 7012]
                         Defendant
19                                               Date: 1-16-2020
                                                 Time: 10:00 AM
20                                               Place: 411 West Fourth Street, Santa Ana, CA
                                                 Courtroom: 5
21
22            The hearing on Defendant Guy Griffithe’s Motion to Dismiss Complaint to Determine

23   Dischargeability of Debt [11 U.S.C. § 523(a)(2)(A) and (a)(4)] ("Motion") came on for hearing at
24   the above-captioned date time and place.
25
              Appearances were noted on the record of the proceedings. After having considered the
26
     Motion and oral argument, both Plaintiff & Defendant submitted on the Court's Tentative, and for
27
28

                                                   1
     Case 8:19-ap-01199-TA         Doc 22 Filed 01/17/20 Entered 01/17/20 10:29:09              Desc
                                    Main Document    Page 3 of 11



 1   all the reasons stated in the record of the proceedings and such other matters as the Court deemed
 2   appropriate,
 3
            IT IS HEREBY ORDERED that:
 4
            The Motion is granted, pursuant to this Court's Tentative, a copy of which is attached,
 5
     adopted, and now made part of the record.
 6
 7          1.      Plaintiff has 45-days from the date of entry of this order to file his First Amended

 8   Complaint.

 9          2.      The Status Conference will be continued to 3-12-2020 at 10:00AM to allow further
10
     briefing whether the Court has subject matter jurisdiction to adjudicate claims relating to cannabis
11
     and as a reserved hearing date should Plaintiff wish to move for abstention.
12
            3.      Defendant’s deadline to bring the (Cannabis) Motion is 2-20-2020.
13
14          4.      Plaintiff’s deadline to oppose the (Cannabis) Motion is 3-2-2020.

15          5.      Defendant’s deadline to reply to the (Cannabis) Motion is 3-8-2020.

16          6.      Plaintiff’s deadline to bring an Abstention Motion is 2-20-2020.
17          7.      Defendant’s deadline to oppose the Abstention Motion is 3-2-2020.
18
            8.      Plaintiff’s deadline to reply to the Abstention Motion is 3-8-2020.
19
                                                    ###
20
21
22
23
24
25
26
27
28

                                                     2
  Case 8:19-ap-01199-TA       Doc 22 Filed 01/17/20 Entered 01/17/20 10:29:09              Desc
                               Main Document    Page 4 of 11




                           United States Bankruptcy Court
                            Central District of California
                                        Santa Ana
                              Judge Theodor Albert, Presiding
                                 Courtroom 5B Calendar

Thursday, January 16, 2020                                                Hearing Room            5B

10:00 AM
8:19-12480 Guy S. Griffithe                                                               Chapter 7
Adv#: 8:19-01199   Samec v. Guy Griffithe Et.Al

    #3.00     Motion To Dismiss Complaint To Determine Dischargeability Of Debt [11 USC §
              523(a)(2)(A) and (2)(4)]

                                 Docket      8

  Tentative Ruling:
      Tentative for 1/16/20:
             This is Defendant/Debtor, Guy Griffithe’s ("Defendant’s") motion to
      dismiss the complaint of Plaintiff/Creditor, Joseph Samec. Plaintiff’s
      complaint is styled such that he is essentially requesting a determination that
      Defendant’s conduct, if proven, would constitute non-a dischargeable debt
      pursuant to 11 U.S.C. §523(a)(2)(A) [actual fraud] and (a)(4) [defalcation
      while acting in fiduciary capacity, embezzlement or larceny]. It is not clear
      whether Plaintiff intends to have the case tried in this court or in state court,
      and there is a question of abstention but not before the court at this moment.



              1. FRCP 12(b)(6) Standards

             When considering a motion under FRCP 12(b)(6), a court takes all the
      allegations of material fact as true and construes them in the light most
      favorable to the nonmoving party. Parks School of Business v. Symington, 51
      F.3d 1480, 1484 (9th Cir. 1995). A complaint should not be dismissed unless
      a plaintiff could prove no set of facts in support of his claim that would entitle
      him to relief. Id. Motions to dismiss are viewed with disfavor in the federal
      courts because of the basic precept that the primary objective of the law is to
      obtain a determination of the merits of a claim. Rennie & Laughlin, Inc. v.
      Chrysler Corporation, 242 F.2d 208, 213 (9th Cir. 1957). "While a complaint
      attacked by a Rule 12(b)(6) motion to dismiss does not need detailed factual
      allegations, a plaintiff's obligation to provide the grounds of his entitlement to


1/16/2020 12:35:39 PM                     Page 9 of 35
  Case 8:19-ap-01199-TA       Doc 22 Filed 01/17/20 Entered 01/17/20 10:29:09            Desc
                               Main Document    Page 5 of 11




                            United States Bankruptcy Court
                             Central District of California
                                         Santa Ana
                               Judge Theodor Albert, Presiding
                                  Courtroom 5B Calendar

Thursday, January 16, 2020                                                 Hearing Room         5B

10:00 AM
CONT...        Guy S. Griffithe                                                           Chapter 7
      relief requires more than labels and conclusions, and a formulaic recitation of
      the elements of a cause of action will not do." Bell Atlantic Corp. v. Twombly,
      550 U.S. 544, 554-556 (2007) A complaint must contain enough factual
      matter to state a claim to relief that is plausible on its face. Ashcroft v. Iqbal,
      129 S. Ct. 1937, 1949 (2009) citing Twombly. A claim has facial plausibility
      when the plaintiff pleads factual content that allows the court to draw the
      reasonable inference that the defendant is liable for the misconduct alleged.
      Id. The plausibility standard asks for more than a sheer possibility that a
      defendant has acted unlawfully. Id. The tenet that a court must accept as
      true all factual allegations is not applicable to legal conclusions. Id.



              2. Alleged Facts

              Plaintiff in his complaint alleges that, in exchange for a 90-day loan
      from Plaintiff in the amount of $100,000, Defendant signed a promissory note
      on March 30, 2017 on behalf of Bridgegate Picture Corp. ("Bridgegate") and
      signed also as a personal guarantor. The promissory note was delivered by
      Plaintiff’s then financial advisor, Maartin Rossouw ("Rossouw"). Plaintiff
      claims that Rossouw acted as a dual agent for both Plaintiff and Defendant.
      When debt on the promissory note became due, Plaintiff attempted to collect
      through Rossouw, but to no avail. This went on for several months. To date,
      Plaintiff has received only $25,000, but apparently received other checks
      returned for insufficient funds. It is noteworthy what the complaint does not
      contain. There are few if any alleged representations attributed to the
      Defendant, or even to Rossouw. In short, very little is given that would
      separate this case from a simple breach of contract case. It should come as
      no surprise that all bankruptcies are filled with breach of contract claims, and
      it is only those few where the debt was procured through one or more of the
      "bad acts" described in §523(a) that discharge is correctly challenged.




1/16/2020 12:35:39 PM                      Page 10 of 35
  Case 8:19-ap-01199-TA       Doc 22 Filed 01/17/20 Entered 01/17/20 10:29:09               Desc
                               Main Document    Page 6 of 11




                            United States Bankruptcy Court
                             Central District of California
                                        Santa Ana
                              Judge Theodor Albert, Presiding
                                 Courtroom 5B Calendar

Thursday, January 16, 2020                                                 Hearing Room            5B

10:00 AM
CONT...       Guy S. Griffithe                                                          Chapter 7
              3. Plaintiff’s Claim Under §523(a)(2)(A)

              Plaintiff claims that Defendant’s alleged misconduct requires a finding
      that the debt he has incurred with respect to the unpaid loan is not
      dischargeable pursuant to §523(a)(2)(A). To establish a claim under §523(a)
      (2)(A), a plaintiff must establish: (1) a representation of fact by the debtor; (2)
      that was material; (3) that the debtor knew at the time to be false; (4) that the
      debtor made with the intention of deceiving the creditor; (5) upon which the
      creditor relied; (6) and that the creditor’s reliance was reasonable; (7) that
      damage proximately resulted from the misrepresentation. See Rubin v. West
      (In re Rubin), 875 F.2d 755, 759 (9th Cir. 1989); see also, Britton v. Price (In
      re Britton), 950 F.2d 602, 604 (9th Cir. 1991). A claim under this "fraud"
      exception requires that the claim satisfy the heightened pleading
      requirements for fraud pursuant to F.R.C.P. 9(b). See In re Jacobs, 403 B.R.
      565, 574 (Bankr. N. D. Ill. 2009) (citations omitted).



             F.R.C.P. 9(b) and F.R.B.P. 7009 provide: "In alleging fraud, a party
      must state with particularity the circumstances constituting fraud or mistake.
      Malice, intent, knowledge, and other conditions of a person's mind may be
      alleged generally." While intent or knowledge may be averred generally,
      however, the plaintiff must still plead the events claimed to give rise to an
      inference of intent or knowledge Devaney v. Chester, 813 F.2d 566, 568 (2d
      Cir. 1987), which may be accomplished by pleading facts consistent with
      certain well established "badges of fraud." In re Sharp Int'l Corp., 403 F.3d
      43, 56 (2d Cir. 2004).



            Here, Plaintiff in his complaint alleges that at the time of the loan,
      Defendant knew that Bridgegate was severely undercapitalized and did not
      have the resources to fulfill the terms of the promissory note or Defendant’s
      personal guarantee. Plaintiff alleges that Defendant has entered into similar

1/16/2020 12:35:39 PM                      Page 11 of 35
  Case 8:19-ap-01199-TA      Doc 22 Filed 01/17/20 Entered 01/17/20 10:29:09            Desc
                              Main Document    Page 7 of 11




                           United States Bankruptcy Court
                            Central District of California
                                        Santa Ana
                              Judge Theodor Albert, Presiding
                                 Courtroom 5B Calendar

Thursday, January 16, 2020                                               Hearing Room          5B

10:00 AM
CONT...       Guy S. Griffithe                                                         Chapter 7
      agreements with other investors, and that those promissory notes too are in
      default. Plaintiff alleges that he detrimentally relied on Defendant’s personal
      guarantee of the loan in making his decision and that had he known
      Bridgegate’s true financial condition, he would never have invested. As a
      result of Defendant’s default, which Plaintiff argues was intentional, Plaintiff
      has been damaged in an amount not less than the remaining balance of the
      loan.



             But, are the facts alleged in Plaintiff’s complaint, taken as true, even
      close to meeting the minimal pleading standards set forth above? No
      allegation is made that Defendant represented anything to Plaintiff, whether
      about his own financial position, that of Bridgegate, or otherwise. There is no
      specific allegation that Rossouw made representations either. As Iqbal and
      Twombly make clear, there must be enough factual detail to support a claim
      under §523(a)(2)(A), especially given the heightened pleading standards
      under Rule 9(b). Merely reciting the elements of fraud is insufficient; there
      must be corresponding facts alleged supporting each of the elements. What
      was said, by whom, when, etc. Was it oral or in writing?

             Surely, not every promissory note supported by a personal guarantee
      amounts to fraud, false pretenses, or intentional misrepresentation when the
      promisor and guarantor cannot fulfill those obligations. Even considering the
      other notes allegedly made to other investors on similar terms, the court
      remains unpersuaded that fraudulent conduct has been pled with enough
      specificity for Rule 9. Even shaky borrowers are entitled to borrow money,
      and eventual default does not necessarily mean this was a foregone
      conclusion. In opposition to this motion, Plaintiff argues that Defendant has
      had over 20 lawsuits filed against him for nonpayment of debt going back
      over a decade. Unfortunately, this was not raised in the actual complaint.
      Moreover, we cannot rely on mere inference. While widespread and
      prolonged giving of bad promissory notes might suggest that the issuer was


1/16/2020 12:35:39 PM                     Page 12 of 35
  Case 8:19-ap-01199-TA        Doc 22 Filed 01/17/20 Entered 01/17/20 10:29:09              Desc
                                Main Document    Page 8 of 11




                             United States Bankruptcy Court
                              Central District of California
                                          Santa Ana
                                Judge Theodor Albert, Presiding
                                   Courtroom 5B Calendar

Thursday, January 16, 2020                                                  Hearing Room           5B

10:00 AM
CONT...       Guy S. Griffithe                                                        Chapter 7
      making them intentionally without the ability or inclination to repay, all the
      specifics need to be provided and Plaintiff must be able to allege specifically
      that these were an intentional device to obtain funds under false pretenses.
      The Complaint as it stands is very short of this standard.



              4. Plaintiff’s Claim Under §523(a)(4)

             11 U.S.C. § 523(a)(4) provides an exception to discharge "for fraud or
      defalcation while acting in a fiduciary capacity, embezzlement, or larceny[.]"

             Here, Plaintiff alleges that Defendant, as President of Bridgegate,
      owed fiduciary duties to his investors, including Plaintiff. Plaintiff then alleges
      that Defendant breached those duties by:

              (1) failing to honor the personal guarantee;

              (2) failing to pay the note by the dates set forth in the note;

              (3) failing to pay court costs;

              (4) failing to pay late fees;

              (5) misrepresenting the financial status of the company;

              (6) Engaging in criminal activity, which put the company in peril;

              (7) Gross mismanagement;

              (8) Theft and conversion of company assets;

             (9) failure to disclose money to Plaintiff, which he was entitled to
      receive;

              (10) Diverting assets so as to put them beyond the reach of Plaintiff;



1/16/2020 12:35:39 PM                         Page 13 of 35
  Case 8:19-ap-01199-TA       Doc 22 Filed 01/17/20 Entered 01/17/20 10:29:09               Desc
                               Main Document    Page 9 of 11




                            United States Bankruptcy Court
                             Central District of California
                                         Santa Ana
                               Judge Theodor Albert, Presiding
                                  Courtroom 5B Calendar

Thursday, January 16, 2020                                                  Hearing Room           5B

10:00 AM
CONT...       Guy S. Griffithe                                                             Chapter 7
              (11) Paying himself excessive and/or non-disclosed salaries.

      This is quite a list. But unfortunately, like the first claim for relief, this one
      suffers from the same lack of detailed factual allegations enough to satisfy
      the heightened pleading requirements under Rule 9(b). The above listed
      allegations appear to be nothing more than legal conclusions that are either
      insufficiently supported or not supported at all by the facts as alleged. For
      example, it is not at all clear how or why Plaintiff regards himself as an
      "investor" rather than merely a lender. A factual example for each of the 11
      subparts would also add some substance to the complaint and possibly
      supply some support for the necessary allegation that Defendant was as to
      Plaintiff a fiduciary. Merely being a lender does not alone create a fiduciary
      relationship. It is also not clear whether Plaintiff is alleging embezzlement
      and/or larceny in the Complaint. In short, this cause of action is not
      supported by enough facts to state a claim that is plausible on its face.

              The court notes that Plaintiff is proceeding in pro se and encourages
      Plaintiff to retain counsel. The Complaint involves issues that can be quite
      subtle and more complex than they may seem to a lay person. This is
      especially true when the opponent is represented by counsel. The court also
      notes that Plaintiff is a plaintiff, along with his wife, in another adversary
      proceeding involving some of the same issues. Retaining counsel could be of
      significant benefit to Plaintiff. Thus, since the Ninth Circuit has routinely held
      that leave to amend should be liberally granted, so it will be in this case.
      Morongo Band of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir.
      1990).



              5. Jurisdiction Issue

              The Reply also curiously argues that the court does not have
      jurisdiction over this adversary proceeding because the debt at issue was
      incurred in connection with a cannabis business. The court needs

1/16/2020 12:35:39 PM                      Page 14 of 35
  Case 8:19-ap-01199-TA       Doc 22 Filed 01/17/20 Entered 01/17/20 10:29:09        Desc
                              Main Document    Page 10 of 11




                             United States Bankruptcy Court
                              Central District of California
                                         Santa Ana
                               Judge Theodor Albert, Presiding
                                  Courtroom 5B Calendar

Thursday, January 16, 2020                                             Hearing Room         5B

10:00 AM
CONT...       Guy S. Griffithe                                                       Chapter 7
      clarification on whether Bridgegate Picture Corp. is a cannabis concern or, as
      its name would suggest, a motion picture company, or the like. The court is
      aware that the other adversary proceedings do relate to loans made primarily
      for investment in a cannabis business, including one adversary proceeding
      where Mr. Samec is also a Plaintiff (along with his wife), which adds a layer of
      confusion that requires clarification.

      Grant with leave to amend

                                   Party Information
  Debtor(s):
       Guy S. Griffithe                         Represented By
                                                  Bert Briones
  Defendant(s):
       Guy Griffithe Et.Al                      Represented By
                                                  Baruch C Cohen
  Plaintiff(s):
       Joseph Samec                             Pro Se
  Trustee(s):
       Thomas H Casey (TR)                      Pro Se




1/16/2020 12:35:39 PM                     Page 15 of 35
        Case 8:19-ap-01199-TA                   Doc 22 Filed 01/17/20 Entered 01/17/20 10:29:09                                     Desc
                                                Main Document    Page 11 of 11



                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                               4929 Wilshire Boulevard, Suite 940, Los Angeles, California 90010.

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER OR JUDGMENT IN
ADVERSARY PROCEEDING will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On 1/17/2020,
I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons
are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Thomas H Casey (TR)                  msilva@tomcaseylaw.com, thc@trustesolutions.net
United States Trustee (SA)           ustpregion16.sa.ecf@usdoj.gov


                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On 1/17/2020, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Joseph Samec, 838 N Charter Dr, Covina, CA 91724



                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 1/17/2020, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Honorable Theodor C. Albert, 411 West Fourth Street, Suite 5085, Santa Ana, CA 92701-4593




                                                                                         Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



  1/17/2020              Baruch C. Cohen, Esq.                                                /s/ Baruch C. Cohen
  Date                         Printed Name                                                   Signature




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                      Page 2                  F 9021-1.2.ADV.NOTICE.LODGMENT
